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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                                  CR 20-00002-BLG-SPW
                      Plaintiff,

 vs.                                          ORDER

 JOLSON HUBERT
 BEARCOMESOUT,

                      Defendant.

       Due to a scheduling conflict at Crossroads Correctional Facility and upon

the Court’s Own Motion,

       IT IS HEREBY ORDERED that the Defendant’s sentencing hearing

presently set via VIDEO on Thursday, October 29, 2020 at 9:30 a.m. is

VACATED.

       IT IS FURTHER ORDERED that the sentencing hearing is RESET VIA

VIDEO from the Crossroads Correctional Facility (Shelby, MT) on

Wednesday, October 28, 2020 at 1:00 p.m. Counsel may appear in the Snowy

Mountains Courtroom thirty (30) minutes prior to the hearing to video conference

with Defendant.

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The Clerk of Court is directed to notify counsel of the making of this Order.


DATED this 20th day of October, 2020.




                                       SUSAN P. WATTERS
                                       United States District Judge




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